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                       EXHIBIT “Q”
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   From: patrick orlando <patorlando1@gmail.com>
   Date: June 18, 2021 at 1:19:33 AM AST
   To: "Brian C. Shevland" <shevland@yahoo.com>, Alex Monje <amonje@benesserecapital.com>
   Cc: Patrick Orlando <porlando@benesserecapital.com>
   Subject: Re: Task list for today.


   Brian,

   I am copying my general counsel Alex, to help on a quick doc we can docusign to memorialize but see
   my comments below in BOLD CAPS- ALL AGREED SUBJECT TO CLARIFICATIONS- LET'S GET YOU ALL THE
   TOOLS AND START THE PROCESS, ESTIMATED JUL 15TH IPO AND WOULD LIKE RAISE MOSTLY DONE A
   WEEK BEFORE TO MAKE SURE WE KNOW SIZE PARAMETERS- DOES NOT MEAN YOU HAVE TO STOP
   RAISING JUST PLEASE FROM LOAD INTO THESE FIRST TWO WEEKS TO EXTENT POSSIBLE-

   I THINK WE CRACKED THE NUT!!

   On Thu, Jun 17, 2021 at 6:43 PM Brian C. Shevland <shevland@yahoo.com> wrote:
    Patrick,
    In an effort to get things moving in the right direction, we spoke today about a list of
    priorities we would accomplish in order. The first thing on that list was you would send
    me the subscription docs for MAQC immediately and I still have not received those
    documents. However, in the interest of helping everything move forward, I began
    working on the rest of that list in order of the priority for which we agreed to.

    1) Patrick supply subscription documents to Brian for MAQC locking in $100,000 at
    $2/share. - STILL OUTSTANDING SHOULD BE DONE- CHECK JUNK MAIL IF NOT

    2) Brian to complete DWAC Directorship Paperwork to be added as a director of
    DWAC. - ATTACHED GREAT, LETS GET IT STARTED
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           - Comments - I think I completed correctly but feel free to review. I intend to
   invest but since I have not yet I answered accordingly. Mostly "No" and "N/A" answers.
   YES, IT REFERS TO BEFORE

   3) Provide a capital raising solution for DWAC.

   As we have discussed, Institutional Interest is at $2. Retail interest, might be as high as
   $4. My goal is to go out to the market and identify mostly key people in positions where
   they can add additional value beyond just writing a check. This will be a combination of
   Institutions, Family Offices, as well as extremely connected and capable individuals
   that can add value. We will work to put together a full $5,000,000 "book" for your
   benefit and this book will average $3/share or more. I personally plan to be part of that
   capital stack with a personal investment at terms that I hope will be on par with
   you as previously agreed, but regardless, the aggregate of all capital raised including
   my investment, will average no less than $3. If the aggregate is better than $3, we
   share in the difference 50/50 but we may elect to reinvest our portion to purchase
   additional shares at $3. In the event that you decide to return capital or not accept
   interest from our investors you are in your right to do so but you need to understand
   several things before doing so: ALL APPROVED- NO RETURN OF CAPITAL, YOU
   HAVE YOUR ALLOCATION AS LONG AS YOU PROVIDE UPDATES OF WHERE
   YOUR BOOK IS ESTIMATED OF BEING. FOR CLARIFICATION IPO MONIES YOU
   CAN ALSO BRING AND EARN 40BPS OR SO AND REINVEST ALSO FOR THE
   UPLIFT (MAY FUNCTION A LITTLE DIFFERENT BUT WILL EXPLAIN) TO BE
   CLEAR IPO MONIES AT $10 WILL NOT FALL INTO THE $3 CALCULATION

   A) You risk jeopardizing long term relationships that have taken a long time to build
   and I expect to add tremendous value. AGREED
   B) I strongly disagree that someone is a better investor simply because they are willing
   to pay a higher price per share. We have a job to do. AGREED
   C) You cannot return my personal investment or change any of the terms that we
   agree to once I begin the work. AGREED

   4) Finally, we agreed to create a structure to work more closely in partnership in the
   future - Will begin once everything else is completed. AGREED, I BELIEVE WE
   WORK ON A STRATEGIC ALLIANCE




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